Case 8:23-bk-10571-SC            Doc 950-1 Filed 02/20/24 Entered 02/20/24 17:00:07                      Desc
                                      Addendum Page 1 of 5


                               ADDENDUM TO MONTHLY OPERATING REPORT

                                    In re The Li�ga�on Prac�ce Group, P.C.

                                    Bankruptcy Case No. 8:23-bk-10571-SC

                                          Month Ending 1/31/2024



 Due to a lack of coopera�on by Debtor’s principals, Trustee is not able to deﬁni�vely answer all
 ques�ons set forth in the monthly opera�ng report. Due to the fact that the form cannot be
 electronically submited without a response to each and every ques�on, Trustee has responded with
 either a “$0” or “no” for the ques�ons to which he does not possess the informa�on and elaborates on
 such answers with the following explana�ons and addi�onal informa�on:



     Ques�on                                             Trustee’s Explana�on
     Debtor’s Full-Time Employees (current)              As of August 2023, all employees providing
                                                         services to Debtor’s clients and former clients
                                                         were terminated. Prior to bankruptcy, Debtor
                                                         transferred all of its legal services agreements to
                                                         one or more law ﬁrms. Trustee avoided and
                                                         recovered the transfers made to Phoenix Law.
                                                         The employees servicing the ﬁles were
                                                         employees of Maverick and Phoenix had an
                                                         agreement to reimburse Maverick. In short,
                                                         Trustee did not have actual employees.
     Debtor’s Full-Time Employees (as of date of order   Trustee does not have this informa�on and it was
     for relief)                                         not provided by the Debtor.
      Suppor�ng Documenta�on sec�on 1
      Statement of cash receipts and disbursements       Form 2 is atached.
      Balance Sheet containing the summary and           Form 2 is atached.
     detail of the assets, liabili�es, and equity (net
     worth) or deﬁcit



 1
   As men�oned above with respect to employees, and alleged in the Adversary Proceeding, pre-pe��on,
 substan�ally all of Debtor’s assets were also fraudulently conveyed to transferees and fraudulent
 conveyance partners such as Phoenix Law, Greyson Law Center, PrimeLogix, Maverick, and others.
 Perhaps this scheme explains why Debtor and its principals have refused to turn over the documents
 sought pursuant to this suppor�ng documenta�on sec�on. Upon the service of the TRO and PI, Trustee
 learned that all revenue formerly of LPG was, prior to the Trustee's appointment, being siphoned from
 LPG to go to these other en��es; Mr. Diab tes�ﬁed as much at the hearing on the Preliminary Injunc�on.
 Trustee's Special Li�ga�on Counsel is in the process of ﬁnalizing and serving subpoenas on all ﬁnancial
 ins�tu�ons and third par�es that appear to have been engaged in or recipients of monies believed to
 belong to LPG that appear to have been siphoned and used for other purposes.
Case 8:23-bk-10571-SC            Doc 950-1 Filed 02/20/24 Entered 02/20/24 17:00:07                    Desc
                                      Addendum Page 2 of 5



   Statement of opera�ons (proﬁt or loss              Form 2 is atached.
  statement)
   Accounts receivable aging                          The most recent status report received from
                                                      Morning Law Group states that as of January 31,
                                                      2024, the Estate’s es�mated share of client
                                                      receivables is $4,471,287.17 subject to any
                                                      adjustments per the Purchase Agreement. Form
                                                      2 is atached reﬂec�ng any funds received by
                                                      Trustee and source of funds.
   Post-pe��on liabili�es aging                       Trustee does not have any post-pe��on liabili�es
                                                      other than accrued professional fees and
                                                      quarterly fees owed to the U.S. Trustee which are
                                                      listed under Part 2, Line f. An administra�ve
                                                      claims bar date was set. Prior to the deadline,
                                                      various mo�ons asser�ng administra�ve claims
                                                      were ﬁled. Trustee is reviewing the mo�ons to
                                                      determine if he will oppose any.
   Statement of capital assets                        Trustee does not have any addi�onal informa�on
                                                      other than the informa�on provided in the
                                                      atached Form 2.
   Schedule of payments to professionals              Trustee has not made any payments to any
                                                      professionals since his appointment on May 8,
                                                      2023. The accrued fees for professionals are
                                                      including under Part 2, Line f.
   Schedule of payments to insiders                   Trustee does not have this informa�on and no
                                                      payments to insiders have been made a�er he
                                                      was appointed.
   All bank statements and bank reconcilia�ons for    Trustee has not received addi�onal bank
  the repor�ng period                                 statements for the Debtor. All of Trustee’s
                                                      transac�ons are reported on Form 2.
   Descrip�on of the assets sold or transferred and   No assets were sold or transferred in the month
  the terms of the sale or transfer                   of January 2024.

  Part 2, a                                           The most recent status report received from
                                                      Morning Law Group states that as of January 31,
                                                      2024, the Estate’s es�mated share of client
                                                      receivables is $4,471,287.17 subject to any
                                                      adjustments per the Purchase Agreement. Form
                                                      2 is atached reﬂec�ng any funds received by
                                                      Trustee and source of funds.

  Part 2, b                                           Trustee is not aware of any outstanding A/R,
                                                      other than the client receivables listed in Part 2a.
                                                      Form 2 is atached reﬂec�ng any funds received
                                                      by Trustee and source of funds.
Case 8:23-bk-10571-SC   Doc 950-1 Filed 02/20/24 Entered 02/20/24 17:00:07                Desc
                             Addendum Page 3 of 5



  Part 2, c                              Trustee does not have any informa�on as to
                                         Inventory. Form 2 is atached reﬂec�ng any
                                         informa�on that the Trustee is aware of.
  Part 2, d                              Trustee does not have any informa�on as to
                                         Current Assets other than the client receivables
                                         informa�on provided in Part 2a and Trustee’s
                                         Form 2. Form 2 is atached reﬂec�ng any
                                         informa�on that the Trustee is aware of.
  Part 2, f                              Trustee does not have any post-pe��on liabili�es
                                         other than those referenced herein including
                                         accrued professional fees and quarterly fees
                                         owed to the U.S. Trustee which are listed here
                                         and the outstanding Super Priority Loans.
  Part 2, g                              Trustee does not have any post-pe��on liabili�es
                                         other than accrued professional fees and
                                         quarterly fees owed to the U.S. Trustee which are
                                         listed here. Nothing is past due. If any mo�ons for
                                         allowed administra�ve expenses are granted,
                                         Trustee will include such allowed amounts on
                                         subsequent reports.
  Part 2, h                              Trustee has paid any payroll tax liabili�es since his
                                         appointment.
  Part 2, i                              Trustee has paid any payroll tax liabili�es since his
                                         appointment.
  Part 2, k                              The only informa�on Trustee is in possession of is
                                         what was listed in the schedules ﬁled under
                                         docket no. 33 on April 4, 2023, Schedule D, Part 1,
                                         #3. The QuickBooks records only contain data
                                         through January 5, 2022, and do not iden�fy
                                         which liabili�es are secured vs. unsecured. The
                                         only other informa�on the Trustee has is from the
                                         claims ﬁled by creditors.
  Part 2, l                              The only informa�on Trustee is in possession of is
                                         what was listed in the schedules ﬁled under
                                         docket no. 33 on April 4, 2023, Schedule E/F, Part
                                         4, #5a. The QuickBooks records only contain data
                                         through January 5, 2022, and list a total of
                                         $58,332.21 in tax liabili�es. The only other
                                         informa�on the Trustee has is from the claims
                                         ﬁled by creditors.
  Part 2, m                              The only informa�on the Trustee is in possession
                                         of is what was listed in the schedules ﬁled under
                                         docket no. 33 on April 4, 2023, Schedule E/F, Part
                                         4, #5b. The only other informa�on the Trustee
                                         has is from the claims ﬁled by creditors.
  Part 3, a                              The sale details are provided in the ﬁling of
                                         Docket 416, highligh�ng the total sale of
Case 8:23-bk-10571-SC   Doc 950-1 Filed 02/20/24 Entered 02/20/24 17:00:07            Desc
                             Addendum Page 4 of 5



                                         $5,500,000.00. No assets were sold in the month
                                         of January 2024. $808,068.20 was received in
                                         January 2024 pertaining to client rejec�ons as
                                         stated in the Asset Purchase Agreement. These
                                         funds belong to the clients and need to be
                                         refunded to the clients.
  Part 3, b                              No such payments were made in the month of
                                         January 2024.
  Part 4, a                              Trustee does not have any income and expense
                                         informa�on for the Debtor for January 2024. All
                                         funds received and disbursed by the Trustee are
                                         listed on the atached Form 2.

  Part 4, b                              Trustee does not have any income and expense
                                         informa�on for the Debtor for January 2024. All
                                         funds received and disbursed by the Trustee are
                                         listed on the atached Form 2.
  Part 4, d                              Trustee does not have any income and expense
                                         informa�on for the Debtor for January 2024. All
                                         funds received and disbursed by the Trustee are
                                         listed on the atached Form 2.
  Part 4, e                              Trustee does not have any income and expense
                                         informa�on for the Debtor for January 2024. All
                                         funds received and disbursed by the Trustee are
                                         listed on the atached Form 2.
  Part 4, f                              Trustee does not have any income and expense
                                         informa�on for the Debtor for January 2024. All
                                         funds received and disbursed by the Trustee are
                                         listed on the atached Form 2.
  Part 4, g                              Trustee does not have any deprecia�on and/or
                                         amor�za�on informa�on for the month of
                                         January 2024.
  Part 4, h                              Trustee does not have any interest informa�on
                                         for the month of January 2024other than any
                                         informa�on contained in claims ﬁled by creditors.
                                         The Trustee has not yet commenced the claims
                                         review process.
  Part 4, i                              Trustee is not aware of any taxes incurred by the
                                         Debtor in the month of January 2024.
  Part 4, j                              Trustee has included accrued fees for
                                         professionals and U.S. Trustee quarterly fees in
                                         Part 2, Line f above as well
  Part 4, k                              Trustee does not have informa�on as to any proﬁt
                                         or loss for the Debtor for the month of January
                                         2024. Any funds received or disbursed by the
                                         Trustee are included on the atached Form 2.
Case 8:23-bk-10571-SC   Doc 950-1 Filed 02/20/24 Entered 02/20/24 17:00:07               Desc
                             Addendum Page 5 of 5



  Part 5, a                              Trustee has not made any payments to any
                                         professionals since his appointment on May 8,
                                         2023. The accrued fees for professionals are
                                         listed under Part 2, Line f above.

  Part 5, b                              Trustee has not made any payments to any
                                         professionals since his appointment on May 8,
                                         2023. The accrued fees for professionals are listed
                                         under Part 2, Line f above.
  Part 6, a                              Trustee does not have any informa�on as to
                                         income taxes accrued by the Debtor post-
                                         pe��on.
  Part 6, b                              Trustee does not have any informa�on as to
                                         income taxes paid by the Debtor post-pe��on.
                                         Trustee has not made any such payments.
  Part 6, c                              Trustee has paid all post-pe��on employer
                                         payroll taxes.
  Part 6, e                              Trustee does not have any informa�on as to post-
                                         pe��on property taxes paid by the Debtor.
                                         Trustee has not made any such payments.
  Part 6, f                              Trustee does not have any informa�on as to other
                                         post-pe��on taxes accrued by the Debtor. Tax
                                         liabili�es for the Estate incurred a�er the
                                         Trustee’s appointment will not be determined
                                         un�l Trustee’s accountants prepare tax returns for
                                         2023.
  Part 6, g                              Trustee does not have any informa�on as to other
                                         post-pe��on taxes paid by the Debtor. Tax
                                         liabili�es for the Estate incurred a�er the
                                         Trustee’s appointment will not be determined
                                         un�l Trustee’s accountants prepare tax returns for
                                         2023.
  Part 7, g                              Trustee secured post-pe��on ﬁnancing. The
                                         Trustee ﬁled mo�ons seeking authoriza�on to
                                         secure such post-pe��on ﬁnancing. No addi�onal
                                         debt was incurred in January 2024.
  Part 7, h                              The Court has not approved any payments to
                                         professionals in the case so far.
  Part 7, i                              As of August 2023, all employees that had been
                                         providing services in connec�on with the legal
                                         services agreements ini�ally entered into by
                                         Debtor were terminated.
  Part 8                                 SECTION DOES NOT APPLY TO DEBTOR
